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 8 Attorneys for Defendants
 9                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
10
     MARK MOSS, an individual;                      CASE NOS.: 2:18-cv-00100-SMJ
11                                                             2:18-cv-00103-SMJ
                   Plaintiff,
12                                                  STIPULATION TO
            v.                                      CONSOLIDATE ACTIONS
13                                                  UNDER FED. R. CIV. P. 42(a)
   GIGA WATT, INC., a Washington
14 corporation; and GIGA WATT, PTE,                 CLASS ACTION
   LTD., a foreign corporation;
15
                Defendants.
16 RAYMOND BALESTRA, individually
   and on behalf of all others similarly
17 situated,
18                 Plaintiff,
19          v.
   GIGA WATT, INC., GIGA WATT,
20 PTE, LTD., CRYPTONOMOS PTE.
   LTD., and DAVE CARLSON,
21
              Defendants.
22
23
24
     STIPULATION TO CONSOLIDATE ACTIONS                       WILSON SONSINI GOODRICH & ROSATI
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 1          All parties to the two above-captioned actions, through their respective

 2 counsel of record, submit the following Stipulation To Consolidate Actions Under
 3 Fed. R. Civ. P. 42(a), and ask the Court to enter an order consistent with this

 4 Stipulation.
 5          WHEREAS, on March 19, 2018, plaintiff Mark Moss filed Case No. 2:18-

 6 cv-00100 against defendants Giga Watt, Inc. and GigaWatt Pte. Ltd. (the “Moss

 7 Action”). And the following day, on March 20, 2018, plaintiff Raymond Balestra,
 8 individually and on behalf of all others similarly situated, filed Case No. 2:18-cv-
 9 00103 against the same defendants as well as Cryptonomos Pte. Ltd. and Dave

10 Carlson (the “Balestra Action”);
11          WHEREAS, the Moss Action and Balestra Action share numerous common

12 questions of law and fact, and both actions are currently pending before this Court;

13          WHEREAS, defendants in the Moss Action have until July 2, 2018 to file a

14 responsive pleading in that action;
15          WHEREAS, on June 28, 2018, this Court appointed Silver Miller, counsel

16 for plaintiff in the Moss Action, as co-lead counsel for the proposed class in the
17 Balestra Action;
18          WHEREAS, this Court has ordered that defendants in the Balestra Action

19 need not file a responsive pleading in that action until 45 days after lead plaintiff in
20 the Balestra Action has filed and served a consolidated complaint, or designated an
21 operative complaint in that action;
22          WHEREAS, the parties agree that requiring defendants to respond

23 separately to the complaint in the Moss Action and the complaint to be deemed
24   STIPULATION TO CONSOLIDATE ACTIONS           -2-           WILSON SONSINI GOODRICH & ROSATI
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 1 operative by the lead plaintiff in the Balestra Action would be duplicative and
 2 wasteful;
 3          THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

 4 among the respective parties hereto, that:
 5          (1)    The two above-captioned actions be consolidated for all purposes,

 6 including pre-trial proceedings and trial, with the Balestra Action serving as the

 7 lead case; and
 8          (2)    Defendants need not file any responsive pleading in the consolidated

 9 action until 45 days after lead plaintiff in the Balestra Action, once appointed, has

10 filed and served a consolidated complaint, or designated an operative complaint in
11 that action.
12          Together with this Stipulation, the parties respectfully submit a proposed

13 order to the above effect.
14 Dated: July 2, 2018
                                  By: /s/ Barry M. Kaplan
15                                    Barry M. Kaplan, WSBA #8661
16                                    Gregory L. Watts, WSBA #43995
                                      Stephanie L. Jensen, WSBA #42042
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                                          Attorneys for all defendants in the Moss and
23                                        Balestra Actions
24   STIPULATION TO CONSOLIDATE ACTIONS            -3-           WILSON SONSINI GOODRICH & ROSATI
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 8                                        Attorneys for plaintiff Mark Moss in the Moss Action
 9

10                                By: /s/ David C. Silver
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                                          Attorneys for plaintiff Mark Moss in the Moss
16                                        Action, and Co-Lead Counsel in the Balestra Action
17
18                                By: /s/ Roger Townsend
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23                                        Donald J. Enright (to be admitted pro hac vice)
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 3                                        Facsimile: (202) 333-2121

 4                                        Attorneys for plaintiff Raymond Balestra and
                                          Liaison and Co-Lead Counsel, respectively, in the
 5                                        Balestra Action
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24   STIPULATION TO CONSOLIDATE ACTIONS            -5-           WILSON SONSINI GOODRICH & ROSATI
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 1                                 CERTIFICATE OF SERVICE

 2           I hereby certify that on July 2, 2018, I electronically filed the foregoing with

 3 the Clerk of the Court using the CM/ECF System which will send notification of

 4 such filing to the following:
 5           Roger M. Townsend         rtownsend@bjtlegal.com

 6           Barry M. Kaplan           bkaplan@wsgr.com, rcarter@wsgr.com

 7           Gregory L. Watts          gwatts@wsgr.com, rcarter@wsgr.com

 8           I certify that I served the foregoing by email to the following:

 9           Donald J. Enright         denright@zlk.com

10
                                              /s/ Barry M. Kaplan
11                                            Barry M. Kaplan, WSBA #8661
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